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                IN THE UNITED STATES DISTRICT COURT
                FOR THE MIDDLE DISTRICT OF ALABAMA
                         NORTHERN DIVISION

LEDIC MANAGEMENT                          )
GROUP, LLC,                               )
                                          )
            Plaintiff,                    )
                                          )
      v.                                  )      CASE NO. 2:19-CV-529-WKW
                                          )
AHA-COLONIAL VILLAGE,                     )
LLC,                                      )
                                          )
            Defendant.                    )

                                     ORDER

      Upon consideration of Plaintiff’s stipulation of dismissal (Doc. # 8), construed

as a notice of dismissal under Federal Rule of Civil Procedure 41(a)(1)(A)(i), this

action has been dismissed without prejudice by operation of Rule 41.

      It is further ORDERED that the parties’ consent motion for extension of time

for Defendant to respond to the complaint (Doc. # 7) is DENIED AS MOOT.

      The Clerk of the Court is DIRECTED to close this case.

      DONE this 14th day of August, 2019.

                                                    /s/ W. Keith Watkins
                                              UNITED STATES DISTRICT JUDGE
